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Ethan Blevins, Mont. Bar No. 37415893
PACIFIC LEGAL FOUNDATION
555 Capitol Mall, Suite 1290
Sacramento, CA 95814
EBlevins@pacificlegal.org
Telephone: (916) 419-7111

Attorney for Plaintiff Do No Harm

          IN THE UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF MONTANA
                    HELENA DIVISION


DO NO HARM,
                         Plaintiff,        Civil Action No.:___________
           v.
GREGORY GIANFORTE, in his
official capacity as Governor of
                                                   COMPLAINT
the State of Montana,
                       Defendant.




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                           INTRODUCTION

     1.    Montana has dozens of state boards and commissions on

which Montanans volunteer to serve the citizens of the state. While most

eligibility requirements are designed to ensure qualified individuals are

appointed to serve, an individual’s candidacy also depends on factors

outside of his or her control, like race and gender. Indeed, for nearly 33

years Montana governors have been required to consider an individual’s

race and gender when making appointments to the state’s boards,

commissions, committees, and councils.

     2.    The Montana Board of Medical Examiners is one such board.

It regulates, licenses, and investigates health professionals in Montana

to ensure they meet the high standards of the profession. Service on the

Board generally requires that an individual be a licensed and practicing

health professional in good standing in Montana for at least one year.

However, state law also requires the Governor to consider the race and

gender of potential members when making appointments to the Board.

     3.    Such blatant discrimination against individuals who could sit

on the Board serves no legitimate government purpose. It is demeaning,

patronizing, un-American, and unconstitutional.


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        4.   Do No Harm is an organization of over 6,000 medical

professionals, students, and policymakers dedicated to eliminating

discrimination in healthcare. It has at least one member who is qualified,

ready, willing, and able to be appointed to the Board. It brings this

lawsuit to vindicate its members’ constitutional rights, to ensure that

every qualified doctor of medicine in Montana has the equal right to serve

on the Board, and to ensure that Montanans are regulated by a Board

that is not selected on the basis of race and gender.

                     JURISDICTION AND VENUE

        5.   This action arises under the Fourteenth Amendment to the

United States Constitution and 42 U.S.C. § 1983. This Court has

jurisdiction over this federal claim under 28 U.S.C. §§ 1331 (federal

question) and 1343(a) (redress for deprivation of civil rights). Declaratory

relief is authorized by the Declaratory Judgment Act, 28 U.S.C. §§ 2201–

2202.

        6.   Venue is proper in this Court under 28 U.S.C. § 1391(b)(1)

because Defendant resides in this district, and under 28 U.S.C.

§ 1391(b)(2) because a substantial part of the events giving rise to the

claims occurred or will occur in this district.


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                                    PARTIES

      7.    Plaintiff Do No Harm is a national nonprofit corporation

headquartered in Glen Allen, Virginia. It is a membership organization

of over 6,000 medical professionals, students, and policymakers. Its

mission is focused on keeping divisive identity politics out of healthcare.

Do No Harm’s membership includes at least one individual who is a

resident of this state, at least 18 years of age, and currently practicing as

a doctor of medicine with an active physician license in good standing in

this state for at least one year.

      8.    Specifically, Do No Harm Member “A” is a licensed

dermatologist in Montana residing and practicing dermatology in

Flathead County. She is a female who is not a member of a racial minority

and is over 18 years of age. Member A has practiced as a dermatologist

for 31 years. Member A is qualified, ready, willing, and able to be

appointed to the Board of Medical Examiners.

      9.    Defendant Greg Gianforte is the Governor of the State of

Montana. Governor Gianforte is required by Montana law to make all

appointments to the Board of Medical Examiners. Mont. Code § 2-15-

108(1) requires Governor Gianforte to consider gender and race when


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making appointments to the Board. Governor Gianforte is sued in his

official capacity.

                        FACTUAL ALLEGATIONS

History of Gender and Racial Mandate on Montana Boards

        10.   In 1989, the Montana legislature passed House Joint

Resolution No. 28 “urging that all appointive boards, commissions,

committees, and councils of the state be gender-balanced.”

        11.   Of concern to the 51st Legislature was the lack of an accurate

“reflect[ion of] the contributions of all Montanans in public policymaking”

on the basis of gender. According to the Joint Resolution, less than one-

fourth of the various boards in the state were gender-balanced at the

time.

        12.   In 1991, the 52nd Legislature considered HB 424, a bill that

directed “all appointing authorities,” including the governor, “of all

appointive boards, commissions, committees, and councils of state

government” to “take positive action to attain gender balance and

proportional representation of minorities resident in Montana to the

greatest extent possible.”




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       13.   Committee testimony revealed that the chief concern of

lawmakers in considering HB 424 was a lack of gender balance on state

boards and commissions due to alleged “bias.”

       14.   Throughout the legislative discussions, the governmental

interest asserted was a desire for equal representation for women and

racial minorities on boards and commissions.

       15.   HB 424 was enacted and is now codified at Mont. Code § 2-15-

108.

The Board of Medical Examiners

       16.   The Board of Medical Examiners was first established in 1889

to regulate the practice of medicine in Montana.

       17.   “To protect the health, safety and well being of Montana

citizens,” the Board regulates the delivery of healthcare, licenses

qualified health professionals, investigates allegations of misconduct,

and disciplines health professionals that violate the Board’s rules or

regulations.

       18.   The Board is comprised of 12 members appointed by the

Governor. Five of those members must be doctors of medicine, “including

one with experience in emergency medicine, none of whom may be from


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the same county.” Mont. Code § 2-15-1731(2)(a). A qualified doctor must

also be a Montana resident, at least 18 years old, and currently practicing

medicine with an active Montana medical license in good standing for at

least one year. Mont. Code § 37-1-123(4)(a).

     19.   The remaining seven seats on the Board must be filled with

one doctor of osteopathy, one podiatrist, one nutritionist, one physician

assistant, one emergency care provider, and two public members. Mont.

Code § 2-15-1731(2)(b)–(g).

     20.   When making appointments to the Board, the Governor is

required to “take positive action to attain gender balance and

proportional representation of minorities resident in Montana to the

greatest extent possible.” Mont. Code § 2-15-108(1).

     21.   So long as the mandates for gender balance and racial

proportionality remain in place, Do No Harm Member A will not receive

equal consideration for openings on the Board.




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Appointments to the Board

     22.   Two doctor of medicine seats on the Board opened in

September 2023. 1 No appointments to fill those slots have been made.

     23.   Another doctor of medicine seat on the Board will open in

September 2024, with another in September 2025, and yet another in

September 2026.

     24.   Openings can also occur unpredictably in the event of a

resignation or death of a Board member.

     25.   The Governor makes appointments to the Board at

unpredictable times.

     26.   The 10 filled and unexpired Board seats are held by six

women and four men. In order to maintain gender balance in compliance

with Mont. Code § 2-15-108(1), the Governor must appoint two men to

the current openings.

     27.   Only one of the 10 filled and unexpired seats on the Board is

held by a member of a minority group. To achieve “proportional

representation of minorities present in Montana,” § 2-15-108(1), the




1 The three doctor-of-medicine Board members with unexpired terms
reside in Gallatin, Hill, and Yellowstone Counties.
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Governor must appoint one member of a minority group to one of the two

openings.

     28.    Do No Harm has at least one member who is qualified, willing,

and able to be appointed to the Board for the current doctor of medicine

vacancies but for section 2-15-108’s gender and racial balance mandates.

                          CLAIM FOR RELIEF

                              Cause of Action

Mont. Code § 2-15-108(1) Violates the Equal Protection Clause of
the Fourteenth Amendment to the United States Constitution

     29.    Plaintiff   realleges and incorporates by reference the

allegations contained in the previous paragraphs.

     30.    An actual and substantial controversy exists between

Plaintiff, its members, and Defendant. Plaintiff’s members have the right

to seek appointment to the Board of Medical Examiners free from

consideration of their gender and race.

     31.    The    Fourteenth    Amendment       to    the    United    States

Constitution commands that “[n]o State shall … deny to any person

within its jurisdiction the equal protection of the laws.” U.S. Const.

amend. XIV, § 1.



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     32.   Mont. Code § 2-15-108(1) requires the Governor to consider

and make decisions on the basis of gender and race of potential Board

members when making appointments to the Board of Medical

Examiners.

     33.   Governmental classifications on the basis of race violate the

Equal Protection Clause unless they are narrowly tailored to a

compelling governmental interest.

     34.   The racial mandate in section 2-15-108(1) does not serve a

compelling government interest.

     35.   The racial mandate in section 2-15-108(1) does not remediate

any specific instances of racial discrimination that violated the

Constitution or statutes.

     36.   Even if the racial mandate in section 2-15-108(1) served a

compelling government interest, it is not narrowly tailored to

remediating past, intentional discrimination.

     37.   Governmental classifications on the basis of gender violate

the Equal Protection Clause unless they are substantially related to

important governmental objectives.




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     38.   The gender mandate in section 2-15-108(1) does not serve an

important governmental objective.

     39.   Gender balance for the sake of gender balance is not an

important governmental objective and section 2-15-108(1) does not

remediate any specific instances of gender discrimination that violated

the Constitution or statutes.

     40.   Even if the gender mandate in section 2-15-108(1) served an

important governmental objective, it is not substantially related to

remediating past, intentional discrimination.

     41.   The mandates in section 2-15-108(1) stereotype individuals on

the basis of race and gender, treat all individuals of different races and

genders as fungible, mandate racial proportionality, require gender

balancing, and have no end date.

     42.   Plaintiff has no adequate remedy at law to compensate for the

loss of its members’ equal protection rights and will suffer irreparable

injury absent an injunction prohibiting Defendant’s enforcement of

section 2-15-108(1)’s gender and racial mandates.




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     43.     Plaintiff is therefore entitled to prospective declaratory and

permanent injunctive relief against continued enforcement of section 2-

15-108(1).

                        REQUEST FOR RELIEF

     WHEREFORE, Plaintiff respectfully requests the following relief:

     A.      A declaration that the gender and racial mandates in Mont.

Code § 2-15-108(1) violate the Equal Protection Clause of the Fourteenth

Amendment to the United States Constitution;

     B.      A   permanent     injunction   forbidding       Defendant       and

Defendant’s agents from enforcing, or attempting to enforce, the gender

and racial mandates in Mont. Code § 2-15-108(1);

     C.      An award of attorney fees, costs, and expenses in this action

pursuant to 42 U.S.C. § 1988; and

     D.      Any further relief as the Court may deem just, necessary, or

proper.




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DATED: March 12, 2024.

                                    Respectfully submitted,

                                    /s/ Ethan W. Blevins
                                    Ethan W. Blevins
                                    Mont. Bar No. 37415893
                                    PACIFIC LEGAL FOUNDATION
                                    555 Capitol Mall, Suite 1290
                                    Sacramento, CA 95814
                                    Telephone: (916) 419-7111
                                    Facsimile: (916) 419-7477
                                    Email: EBlevins@pacificlegal.org

                                    Attorney for Plaintiff Do No Harm




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